                                  Case 3:18-bk-03009-JAF                                Doc 16             Filed 09/21/18                   Page 1 of 58


 Fill in this information to identify your case:

 Debtor 1          Cedric                  Jermil                Jones
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2          Cheryle               Kimberly               Jones
                   ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


                                         District of Florida Middle
 United States Bankruptcy Court for the: ______________________________________

 Case number         3:18-bk-03009
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................
                                                                                                                                                                            172,850.00
                                                                                                                                                                          $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................              33,548.00
                                                                                                                                                                          $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                            0.00
                                                                                                                                                                          $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                            32,801.00
                                                                                                                                                                          $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            0.00
                                                                                                                                                                          $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +     159,370.08
                                                                                                                                                                          $ ________________


                                                                                                                                     Your total liabilities                 192,171.08
                                                                                                                                                                          $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                            5,043.53
                                                                                                                                                                          $ ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                      6,725.52
                                                                                                                                                                          $ ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                              Case 3:18-bk-03009-JAF                     Doc 16         Filed 09/21/18            Page 2 of 58
Debtor 1    Cedric                Jermil                Jones
               _______________________________________________________                                                    3:18-bk-03009
                                                                                                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X
      Yes


7. What kind of debt do you have?

    
    X
      Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 6,165.72
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            0.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                      0.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                 Case 3:18-bk-03009-JAF                      Doc 16          Filed 09/21/18       Page 3 of 58

Fill in this information to identify your case and this filing:


Debtor 1          Cedric             Jermil               Jones
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            Cheryle           Kimberly             Jones
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        District of Florida Middle
United States Bankruptcy Court for the: ______________________________________

Case number         3:18-bk-03009
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X
                                                                      Single-family home                           the amount of any secured claims on Schedule D:
            3723 Juliet Leia Cir South
      1.1. _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          139,416.00
                                                                                                                   $________________         172,850.00
                                                                                                                                            $_______________
                                                                     Investment property
              Jacksonville   Florida         32218
             _________________________________________
             City                    State    ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    Fee Simple Ownership
                                                                                                                   __________________________________________
              Duval                                              Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 
                                                                 X Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                         Schedule A/B: Property                                                              page 1
                             Case 3:18-bk-03009-JAF                          Doc 16          Filed 09/21/18            Page 4 of 58
Debtor 1       Cedric       Jermil           Jones
               _______________________________________________________                                                       3:18-bk-03009
                                                                                                       Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________                 Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  172,850.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes




           Make:                      See 1
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     ______________
                                                                 Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                      2017
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 
                                                                 X
                                                                   Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                27,198.00
                                                                                                                          $________________          27,198.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                      Honda
                                      ______________
                                                                 Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                       2006
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 
                                                                 X Debtor 1 and Debtor 2 only                             Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                           1,000.00                   1,000.00
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 2
                                   Case 3:18-bk-03009-JAF                                     Doc 16              Filed 09/21/18                     Page 5 of 58
Debtor 1           Cedric       Jermil           Jones
                   _______________________________________________________                                                                             3:18-bk-03009
                                                                                                                                 Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________                   
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________                   
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X 
     No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       28,198.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
                                       Case 3:18-bk-03009-JAF                                          Doc 16                Filed 09/21/18                         Page 6 of 58
Debtor 1            Cedric       Jermil           Jones
                    _______________________________________________________                                                                                         3:18-bk-03009
                                                                                                                                              Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X
        Yes. Describe. ........                                                                                                                                                                      3,000.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. .........                                                                                                                                                                     1,000.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   X
      No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   X No

    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   
   X    No
       Yes. Describe. ..........                                                                                                                                                                   $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........                                                                                                                                                                     1,000.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X
        No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       5,000.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
                                         Case 3:18-bk-03009-JAF                                                   Doc 16                    Filed 09/21/18                           Page 7 of 58
Debtor 1             Cedric      Jermil           Jones
                    _______________________________________________________                                                                                                           3:18-bk-03009
                                                                                                                                                               Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X     No
     Yes .....................................................................................................................................................................    Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              Vystar Credit Union
                                                                                                  _________________________________________________________                                                            200.00
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              Community Credit Union
                                                                                                  _________________________________________________________                                                            50.00
                                                                                                                                                                                                                      $__________________

                                             17.3. Savings account:                               Navy Federal
                                                                                                  _________________________________________________________                                                            100.00
                                                                                                                                                                                                                      $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                     $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
                                         Case 3:18-bk-03009-JAF                         Doc 16    Filed 09/21/18         Page 8 of 58
Debtor 1            Cedric      Jermil           Jones
                   _______________________________________________________                                                        3:18-bk-03009
                                                                                                           Case number (if known)_____________________________________
                   First Name             Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No

 Yes. Give specific                     Issuer name:
       information about
       them. ......................       ______________________________________________________________________________________               $__________________
                                          ______________________________________________________________________________________
                                                                                                                                               $__________________
                                          ______________________________________________________________________________________
                                                                                                                                               $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                       Institution name:

                                          401(k) or similar plan:   ___________________________________________________________________        $__________________

                                          Pension plan:             ___________________________________________________________________        $__________________

                                          IRA:                      ___________________________________________________________________        $__________________

                                          Retirement account:       ___________________________________________________________________        $__________________

                                          Keogh:                    ___________________________________________________________________        $__________________

                                          Additional account:       ___________________________________________________________________        $__________________

                                          Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                          Institution name or individual:

                                          Electric:             ______________________________________________________________________         $___________________
                                          Gas:                  ______________________________________________________________________         $___________________
                                          Heating oil:          ______________________________________________________________________
                                                                                                                                               $___________________
                                          Security deposit on rental unit: _____________________________________________________________
                                                                                                                                               $___________________
                                          Prepaid rent:         ______________________________________________________________________
                                                                                                                                               $___________________
                                          Telephone:            ______________________________________________________________________
                                                                                                                                               $___________________
                                          Water:                ______________________________________________________________________
                                                                                                                                               $___________________
                                          Rented furniture:     ______________________________________________________________________
                                                                                                                                               $___________________
                                          Other:                ______________________________________________________________________
                                                                                                                                               $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................    Issuer name and description:
                                           _______________________________________________________________________________________             $__________________
                                          _______________________________________________________________________________________              $__________________
                                          _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                         Schedule A/B: Property                                                        page 6
                                      Case 3:18-bk-03009-JAF                         Doc 16         Filed 09/21/18            Page 9 of 58
Debtor 1           Cedric       Jermil           Jones
                   _______________________________________________________                                                           3:18-bk-03009
                                                                                                               Case number (if known)_____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X
       No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                        Schedule A/B: Property                                                                page 7
                                     Case 3:18-bk-03009-JAF                                          Doc 16                 Filed 09/21/18                         Page 10 of 58
Debtor 1            Cedric       Jermil           Jones
                    _______________________________________________________                                                                                         3:18-bk-03009
                                                                                                                                              Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X
        No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       350.00
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X
        No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X
        No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
                                      Case 3:18-bk-03009-JAF                                         Doc 16                 Filed 09/21/18                         Page 11 of 58
Debtor 1             Cedric      Jermil           Jones
                    _______________________________________________________                                                                                          3:18-bk-03009
                                                                                                                                              Case number (if known)_____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X
                      No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X
     No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
                                         Case 3:18-bk-03009-JAF                                             Doc 16                 Filed 09/21/18                          Page 12 of 58
 Debtor 1               Cedric      Jermil           Jones
                       _______________________________________________________                                                                                               3:18-bk-03009
                                                                                                                                                      Case number (if known)_____________________________________
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      172,850.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    28,198.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               5,000.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           350.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             33,548.00
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  33,548.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        206,398.00
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
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                                Attachment
         Debtor: Cedric Jermil Jones    Case No: 3:18-bk-03009

Attachment 1
        Mercedes Benz
                                  Case 3:18-bk-03009-JAF               Doc 16             Filed 09/21/18            Page 14 of 58

  Fill in this information to identify your case:

 Debtor 1          Cedric               Jermil              Jones
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2             Cheryle          Kimberly             Jones
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         District of Florida
                                                      District of Middle
 United States Bankruptcy Court for the: _____________________________________________
                                          __________              __________

 Case number
  (If known)
                     3:18-bk-03009
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     X You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

      Brief        Homestead 3723 Juliet Leia Cir                                                                              Fla. Const., Art. 10, § 4(a)(2), FSA
                                                                                                                               ____________________________
      description: _________________________
                   South
                                                           172,850.00
                                                          $________________            
                                                                                       X   139,416.00
                                                                                         $ ____________                        § 222.061
                                                                                                                               ____________________________
      Line from                                                                         100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                any applicable statutory limit      ____________________________
                       1.1

      Brief                                                                                                                    FSA § 222.25(1)
                                                                                                                               ____________________________
      description: _________________________
                   Mercedes Benz
                                                           27,198.00
                                                          $________________            
                                                                                       X   1,000.00
                                                                                         $ ____________                        ____________________________
      Line from                                                                         100% of fair market value, up to      ____________________________
                    3.1                                                                   any applicable statutory limit       ____________________________
      Schedule A/B: ______

      Brief                                                                                                                    ____________________________
      description:                                        $________________             $ ____________                        ____________________________
                       _________________________
      Line from                                                                         100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                         1
                                                                                                                                                     page 1 of __
                                 Case 3:18-bk-03009-JAF                              Doc 16            Filed 09/21/18            Page 15 of 58

Fill in this information to identify your case:

Debtor 1          Cedric Jermil Jones
                  __________________________________________________________________
                    First Name                   Middle Name                      Last Name

Debtor 2            Cheryle Kimberly Jones
                    ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name                      Last Name


                                        District of Florida Middle
United States Bankruptcy Court for the: ______________________________________

Case number         3:18-bk-03009
                    ___________________________________________
(If known)                                                                                                                                                  Check if this is an
                                                                                                                                                               amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      X
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                              Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                       Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                   Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                            value of collateral.   claim                 If any

2.1                                                            Describe the property that secures the claim:                    32,801.00
                                                                                                                              $_________________   27,198.00
                                                                                                                                                 $________________ $____________
      Mercedes Benz Financial
      ______________________________________
      Creditor’s Name
                                                           Mercedes Benz
      PO Box 685
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                  Contingent
      Roanoke               TX 76262
      ______________________________________                   
                                                               X
                                                                   Unliquidated
      City                           State   ZIP Code             Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
          Debtor 1 only                                          An agreement you made (such as mortgage or secured
          Debtor 2 only                                           car loan)
          Debtor 1 and Debtor 2 only                          
                                                               X
                                                                   Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                         Last 4 digits of account number ___ ___ ___ ___
2.2                                                            Describe the property that secures the claim:                   0.00
                                                                                                                              $_________________   139,416.00 $____________
                                                                                                                                                 $________________
      Ocwen Loan Servicing L
      ______________________________________
      Creditor’s Name
                                                           Homestead 3723 Juliet Leia Cir South
      1661 Worthington R
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                  Contingent
      West Palm Beach FL 33409
      ______________________________________                   
                                                               X   Unliquidated
      City                           State   ZIP Code             Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
          Debtor 1 only                                       
                                                               X   An agreement you made (such as mortgage or secured
          Debtor 2 only                                           car loan)
          Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                         Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                   32,801.00
                                                                                                                              $_________________


  Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                                 1
                                                                                                                                                                 page 1 of ___
                                     Case 3:18-bk-03009-JAF                   Doc 16           Filed 09/21/18                  Page 16 of 58
 Fill in this information to identify your case:

 Debtor 1              Cedric Jermil Jones
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2               Cheryle Kimberly Jones
                       ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


                                         District of Florida Middle
 United States Bankruptcy Court for the: ______________________________________

                        3:18-bk-03009                                                                                                                 Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X
          Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___             $_____________ $___________ $____________
         Priority Creditor’s Name

         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________
                                                                      As of the date you file, the claim is: Check all that apply.
         ____________________________________________
         City                                State      ZIP Code
                                                                         Contingent
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
               No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     8
                                                                                                                                                          page 1 of ___
Debtor 1
                                     Case 3:18-bk-03009-JAF
                     Cedric Jermil Jones
                     _______________________________________________________
                                                                                 Doc 16    Filed 09/21/18         Page       17 of 58
                                                                                                                         3:18-bk-03009
                                                                                                   Case number (if known)_____________________________________
                     First Name       Middle Name         Last Name


  Part 2:           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X
        Yes

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim
4.1
       Amex
       _____________________________________________________________                                                   8 ___
                                                                                      Last 4 digits of account number ___ 0 ___
                                                                                                                             6 ___
                                                                                                                                3
       Nonpriority Creditor’s Name                                                                                                                             558.00
                                                                                                                                                              $__________________
                                                                                      When was the debt incurred?           2017-05
                                                                                                                            ____________
       Po Box 297871
       _____________________________________________________________
       Number               Street

       Fort Lauderdale          FL               33329
       _____________________________________________________________
       City                                              State        ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                         Contingent
       Who incurred the debt? Check one.                                              
                                                                                      X
                                                                                          Unliquidated
              Debtor 1 only                                                             Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                   Student loans

              Check if this claim is for a community debt                               Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
       Is the claim subject to offset?                                                   Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No                                                                     
                                                                                      X                  Credit Card Charges
                                                                                          Other. Specify ______________________________________
              Yes

4.2
       Capital One                                                                                                     6 ___
                                                                                      Last 4 digits of account number ___ 5 ___
                                                                                                                             7 ___
                                                                                                                                1                               3,724.00
                                                                                                                                                              $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                    When was the debt incurred?           2016-08
                                                                                                                            ____________
       15000 Capital One Dr
       _____________________________________________________________
       Number               Street
                                                                                      As of the date you file, the claim is: Check all that apply.
        Richmond              VA                  23238
       _____________________________________________________________
       City                                              State        ZIP Code
                                                                                         Contingent
       Who incurred the debt? Check one.                                              
                                                                                      X   Unliquidated

              Debtor 1 only
                                                                                         Disputed

              Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                   Student loans
                                                                                         Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                                that you did not report as priority claims
       Is the claim subject to offset?                                                   Debts to pension or profit-sharing plans, and other similar debts

          X
               No                                                                     
                                                                                      X                  Credit Card Charges
                                                                                          Other. Specify ______________________________________

              Yes

4.3
       Capital One
       _____________________________________________________________                                                   3 ___
                                                                                      Last 4 digits of account number ___ 2 ___
                                                                                                                             8 ___
                                                                                                                                0                               3,816.00
       Nonpriority Creditor’s Name                                                                                                                            $_________________
                                                                                      When was the debt incurred?           2016-11
                                                                                                                            ____________
       15000 Capital One Dr
       _____________________________________________________________
       Number               Street

       Richmond                 VA               23238
       _____________________________________________________________                  As of the date you file, the claim is: Check all that apply.
       City                                              State        ZIP Code

                                                                                         Contingent
       Who incurred the debt? Check one.
                                                                                      
                                                                                      X
                                                                                          Unliquidated
              Debtor 1 only
                                                                                         Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                         Student loans
              Check if this claim is for a community debt                               Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
       Is the claim subject to offset?
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
       
       X       No
                                                                                      
                                                                                      X                  Credit Card Charges
                                                                                          Other. Specify ______________________________________
              Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       page2__ of ___
                                                                                                                                                                              8
Debtor 1
                                 Case 3:18-bk-03009-JAF
                   Cedric Jermil Jones
                   _______________________________________________________
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                                                                                                                            3:18-bk-03009
                                                                                                      Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                            Total claim


4.4                                                                                                                        6 ___
                                                                                          Last 4 digits of account number ___ 6 ___
                                                                                                                                 2 ___
                                                                                                                                    8
      Capital One/Midland Funding, LLC
      _____________________________________________________________                                                                                                 3,066.00
                                                                                                                                                                  $____________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
      PO Box 2001
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      Warren                   MI               48090
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                          
                                                                                          X   Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
            Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                  Credit Card Charges
                                                                                              Other. Specify________________________________
      
      X
             No
            Yes



4.5
      Conifer Ridge HOA                                                                   Last 4 digits of account number ___ ___ ___ ___                           1,892.99
                                                                                                                                                                  $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
      See Attachment 1
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Jacksonville                    FL        32217
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                          
                                                                                          X   Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
            Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X
                                                                                              Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                                 76,090.00
                                                                                                                                                                  $____________
      FedLoan Servicing                                                                                                    0 ___
                                                                                          Last 4 digits of account number ___ 0 ___
                                                                                                                                 0 ___
                                                                                                                                    2
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?            2017-01
                                                                                                                                ____________
      Pob 60610
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      Harrisburg                      PA        17106
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                          
                                                                                          X
                                                                                              Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
            Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          
                                                                                          X   Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                        Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 3__ of ___
                                                                                                                                                                              8
Debtor 1
                                 Case 3:18-bk-03009-JAF
                   Cedric Jermil Jones
                   _______________________________________________________
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                                                                                                      Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                            Total claim


4.7                                                                                                                        7 ___
                                                                                          Last 4 digits of account number ___ 0 ___
                                                                                                                                 0 ___
                                                                                                                                    1
      Mercedes-Benz Financial Services
      _____________________________________________________________                                                                                                 27,198.00
                                                                                                                                                                  $____________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?            2016-11-18
                                                                                                                                ____________
      P.o. Box 961
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      Roanoke                  TX               76262
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                          
                                                                                          X   Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
            Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                  Automobile
                                                                                              Other. Specify________________________________
      
      X
             No
            Yes



4.8
      Midland Credit Management, Inc                                                                                       1 ___
                                                                                          Last 4 digits of account number ___ 9 ___
                                                                                                                                 7 ___
                                                                                                                                    4                               830.09
                                                                                                                                                                  $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
      2365 Northside Drive Ste 300
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       San Diego                       CA        92108
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                          
                                                                                          X   Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
            Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                  See Attachment 2
                                                                                              Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                                 4,022.00
                                                                                                                                                                  $____________
      Navy FCU                                                                                                             2 ___
                                                                                          Last 4 digits of account number ___ 3 ___
                                                                                                                                 6 ___
                                                                                                                                    4
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?            2006-08
                                                                                                                                ____________
      Po Box 3700
      _____________________________________________________________
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      Merrifield                      VA        22119
      _____________________________________________________________
      City                                             State          ZIP Code               Contingent
                                                                                          
                                                                                          X
                                                                                              Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
            Debtor 1 only
            Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                             Student loans
            At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
            Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          X                  Credit Card Charges
                                                                                              Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 4__ of ___
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Debtor 1
                                  Case 3:18-bk-03009-JAF
                    Cedric Jermil Jones
                    _______________________________________________________
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                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                             Total claim


4.10                                                                                                                        8 ___
                                                                                           Last 4 digits of account number ___ 2 ___
                                                                                                                                  3 ___
                                                                                                                                     9
       Navy FCU
       _____________________________________________________________                                                                                                 4,551.00
                                                                                                                                                                   $____________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?            2007-01
                                                                                                                                 ____________
       820 Follin Ln Se
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Vienna                   VA               22180
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X   Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                  Credit Card Charges
                                                                                               Other. Specify________________________________
       
       X
              No
             Yes



4.11
       Navy Federal Credit Union                                                                                            1 ___
                                                                                           Last 4 digits of account number ___ 9 ___
                                                                                                                                  7 ___
                                                                                                                                     8                               840.00
                                                                                                                                                                   $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?           2017-05
                                                                                                                                 ____________
       Po Box 3700
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
        Merrifield                      VA        22119
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X   Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                  Unsecured
                                                                                               Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                                 491.00
                                                                                                                                                                   $____________
       Opploans/finwise                                                                                                     2 ___
                                                                                           Last 4 digits of account number ___ 0 ___
                                                                                                                                  0 ___
                                                                                                                                     1
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?            2018-05-11
                                                                                                                                 ____________
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X
                                                                                               Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                  Unsecured
                                                                                               Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 5__ of ___
                                                                                                                                                                               8
Debtor 1
                                  Case 3:18-bk-03009-JAF
                    Cedric Jermil Jones
                    _______________________________________________________
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                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                             Total claim


4.13                                                                                                                        0 ___
                                                                                           Last 4 digits of account number ___ 8 ___
                                                                                                                                  1 ___
                                                                                                                                     7
       Pionr Midctr
       _____________________________________________________________                                                                                                 4,547.00
                                                                                                                                                                   $____________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?            2017-08
                                                                                                                                 ____________
       4700 Belleview Ave Ste 3
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Kansas City              MO               64112
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X   Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                  Unsecured
                                                                                               Other. Specify________________________________
       
       X
              No
             Yes



4.14
       Synchrony Bank                                                                                                       5 ___
                                                                                           Last 4 digits of account number ___ 1 ___
                                                                                                                                  5 ___
                                                                                                                                     2                               534.00
                                                                                                                                                                   $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?           2016-12
                                                                                                                                 ____________
       Po Box 965028
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
        Orlando                         FL        32896
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X   Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                  ChargeAccount
                                                                                               Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                                 918.00
                                                                                                                                                                   $____________
       Synchrony Bank                                                                                                       1 ___
                                                                                           Last 4 digits of account number ___ 5 ___
                                                                                                                                  2 ___
                                                                                                                                     3
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?            2016-12
                                                                                                                                 ____________
       Po Box 965028
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Orlando                         FL        32896
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X
                                                                                               Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                  ChargeAccount
                                                                                               Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 6__ of ___
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Debtor 1
                                  Case 3:18-bk-03009-JAF
                    Cedric Jermil Jones
                    _______________________________________________________
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                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                             Total claim


4.16                                                                                                                        8 ___
                                                                                           Last 4 digits of account number ___ 5 ___
                                                                                                                                  8 ___
                                                                                                                                     1
       US Deptartment of Education/Great Lakes
       _____________________________________________________________                                                                                                 23,344.00
                                                                                                                                                                   $____________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?            2016-09
                                                                                                                                 ____________
       Po Box 7860
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Madison                  WI               53707
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X   Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           
                                                                                           X   Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                        Other. Specify________________________________
       
       X
              No
             Yes



4.17
       Vystar Credit Union                                                                                                  9 ___
                                                                                           Last 4 digits of account number ___ 7 ___
                                                                                                                                  7 ___
                                                                                                                                     0                               1,965.00
                                                                                                                                                                   $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?           2016-11
                                                                                                                                 ____________
       Po Box 45085
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
        Jacksonville                    FL        32232
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X   Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                  CheckCreditOrLineOfCredit
                                                                                               Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                                 983.00
                                                                                                                                                                   $____________
       Vystar Credit Union                                                                                                  9 ___
                                                                                           Last 4 digits of account number ___ 4 ___
                                                                                                                                  9 ___
                                                                                                                                     6
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?            2016-11
                                                                                                                                 ____________
       Po Box 45085
       _____________________________________________________________
       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
       Jacksonville                    FL        32232
       _____________________________________________________________
       City                                             State          ZIP Code               Contingent
                                                                                           
                                                                                           X
                                                                                               Unliquidated
       Who incurred the debt? Check one.                                                      Disputed
             Debtor 1 only
             Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                              Student loans
             At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
             Check if this claim is for a community debt
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     
                                                                                           X                  Credit Card Charges
                                                                                               Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 7__ of ___
                                                                                                                                                                               8
Debtor 1
                            Case 3:18-bk-03009-JAF
               Cedric Jermil Jones
               _______________________________________________________
                                                                      Doc 16     Filed 09/21/18         Page       23 of 58
                                                                                                               3:18-bk-03009
                                                                                         Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.      0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.      0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.      0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                        0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             99,434.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        59,936.08


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         159,370.08
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                   page8__ of ___
                                                                                                                                                     8
         Case 3:18-bk-03009-JAF        Doc 16    Filed 09/21/18      Page 24 of 58




                                 Attachment
          Debtor: Cedric Jermil Jones    Case No: 3:18-bk-03009

Attachment 1
         c/o Crabtree Law Group, P.A. 8777 San Jose Boulevard
         Building A, Ste 200
Attachment 2
         RE; Citifinancial Rooms to Go original Acct 2009150141585
                                    Case 3:18-bk-03009-JAF            Doc 16         Filed 09/21/18             Page 25 of 58


 Fill in this information to identify your case:

 Debtor               Cedric Jermil Jones
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              Cheryle Kimberly Jones
                       ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        District of Florida Middle
 United States Bankruptcy Court for the:______________________________________

 Case number           3:18-bk-03009
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
                                     Case 3:18-bk-03009-JAF                      Doc 16         Filed 09/21/18    Page 26 of 58

 Fill in this information to identify your case:

 Debtor 1          Cedric Jermil Jones
                   __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             Cheryle Kimberly Jones
                      ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        District of Florida Middle
 United States Bankruptcy Court for the:_______________________________________

 Case number          3:18-bk-03009
                      ____________________________________________
  (If known)
                                                                                                                                              Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      X
           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X
           No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:
3.1
         ________________________________________________________________________________                   Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number             Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                   Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number             Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                   Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number             Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                      1
                                                                                                                                                  page 1 of ___
                                  Case 3:18-bk-03009-JAF            Doc 16           Filed 09/21/18        Page 27 of 58

 Fill in this information to identify your case:


 Debtor 1            Cedric Jermil Jones
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2             Cheryle Kimberly Jones
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          District of Florida Middle
 United States Bankruptcy Court for the: ___________________________________________

 Case number          3:18-bk-03009
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                     X   Employed
     employers.                                                         Not employed                                 FillNot
                                                                                                                            outemployed
                                                                                                                               this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Training Technician
                                                                      __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Department of Defense
                                                                     __________________________________           __________________________________


                                          Employer’s address         506 Ranger Street
                                                                   ________________________________________     ________________________________________
                                                                      Number Street                              Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                     Jacksonville, Florida 32207
                                                                   ________________________________________     ________________________________________
                                                                      City               State ZIP Code           City                State ZIP Code

                                          How long employed there?         _______                                 _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.      3,043.20                 0.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                 0.00             +      0.00
                                                                                                                       $____________


  4. Calculate gross income. Add line 2 + line 3.                                       4.     3,043.20
                                                                                              $__________                0.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                             page 1
                                Case 3:18-bk-03009-JAF                                   Doc 16              Filed 09/21/18               Page 28 of 58
Debtor 1          Cedric Jermil Jones
                  _______________________________________________________                                                                          3:18-bk-03009
                                                                                                                            Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.       3,043.20
                                                                                                                            $___________              0.00
                                                                                                                                                    $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.       120.10
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      30.44
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      133.90
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      39.67
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5e. Insurance                                                                                                5e.      465.41
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
                                     NMRCS,NFCU,CFU,ALLOTM
      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                              332.67            +    0.00
                                                                                                                                                    $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.       1,122.19
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.       1,921.01
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                0.00                     0.00
                                                                                                                           $____________            $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                            0.00                     0.00
                                                                                                                           $____________            $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8e. Social Security                                                                                          8e.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                             0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.       1,867.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
                                         Military Retirement Disability
      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             1,255.52            + $_____________
                                                                                                                                                    0.00

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.       3,122.52
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                             5,043.53
                                                                                                                           $___________     +         0.00
                                                                                                                                                    $_____________       =     5,043.53
                                                                                                                                                                             $_____________

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.         5,043.53
                                                                                                                                                                             $_____________
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X
            No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                    page 2
                                  Case 3:18-bk-03009-JAF                Doc 16         Filed 09/21/18             Page 29 of 58

 Fill in this information to identify your case:

 Debtor 1          Cedric Jermil Jones
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            Cheryle Kimberly Jones
                     ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                         District of Florida Middle
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         3:18-bk-03009
                     ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

        No. Go to line 2.
   
   X     Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  
                                            X    No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                        Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   1,750.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      69.34
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      175.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
                              Case 3:18-bk-03009-JAF                  Doc 16      Filed 09/21/18       Page 30 of 58

Debtor 1          Cedric Jermil Jones
                 _______________________________________________________                                        3:18-bk-03009
                                                                                          Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                       0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.      302.06
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.      174.59
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.      673.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.      0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.       650.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.       150.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.       200.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.      255.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.      0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       525.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.      414.28
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.      450.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.     155.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.     0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.     175.92
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.     0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                       0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.     506.33
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.     0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.    100.00
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.     0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
                              Case 3:18-bk-03009-JAF                Doc 16         Filed 09/21/18           Page 31 of 58

Debtor 1         Cedric Jermil Jones
                 _______________________________________________________                                            3:18-bk-03009
                                                                                              Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                           0.00


22.    Calculate your monthly expenses.                                                                                   6,725.52
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               6,725.52
                                                                                                                         $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.




23. Calculate your monthly net income.
                                                                                                                           5,043.53
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           6,725.52

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                            -1,681.99
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
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Fill in this information to identify your case:

Debtor 1           Cedric Jermil Jones
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2             Cheryle Kimberly Jones
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                                  District Of Florida Middle
United States Bankruptcy Court for the: _______________________________________

Case number         3:18-bk-03009
                    ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   Surrender the property.                          
                                                                                                                                         X No
          name:      Ocwen Loan Servicing L
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt: Homestead 3723 Juliet Leia Cir South                            Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

   
          Creditor’s                                                                   Surrender the property.                          
                                                                                                                                         X
                                                                                                                                           No
          name:      Mercedes Benz Financial
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt: Mercedes Benz                                                   Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________
   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
                              Case 3:18-bk-03009-JAF                   Doc 16           Filed 09/21/18       Page 33 of 58
Your name      Cedric Jermil Jones
               ______________________________________________________                                                  3:18-bk-03009
                                                                                                Case number (If known)_____________________________________
               First Name           Middle Name      Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                   Will the lease be assumed?

     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
     Description of leased                                                                                               Yes
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



      /s/Cedric Jermil Jones
      ___________________________________________                   /s/Cheryle Kimberly Jones
                                                                    ___________________________________________
     Signature of Debtor 1                                           Signature of Debtor 2

          09/21/2018
     Date _________________                                               09/21/2018
                                                                     Date _________________
            MM /    DD   /   YYYY                                         MM /   DD /   YYYY




 Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                          page 2
                                  Case 3:18-bk-03009-JAF                Doc 16        Filed 09/21/18         Page 34 of 58


 Fill in this information to identify your case:

 Debtor 1           Cedric                  Jermil                Jones
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2             Cheryle                Kimberly              Jones
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


                                          District of Florida Middle
 United States Bankruptcy Court for the: ____________________________________________

 Case number          3:18-bk-03009
                     ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married


       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     X
           No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
                             Case 3:18-bk-03009-JAF                         Doc 16          Filed 09/21/18             Page 35 of 58

Debtor 1        Cedric Jermil Jones
                _______________________________________________________                                                        3:18-bk-03009
                                                                                                         Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income           Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                         exclusions)                                          exclusions)


            From January 1 of current year until
                                                            
                                                            X
                                                                 Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            16,000.00
                                                                                         $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                Operating a business                                Operating a business


            For last calendar year:
                                                            
                                                            X
                                                                 Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            23,999.00
                                                                                         $________________            bonuses, tips           $________________
                                       2017
            (January 1 to December 31, _________)               Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          0.00
                                                                                         $________________                                    $________________
                                       2016
            (January 1 to December 31, _________)               Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     X
           No
          Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income          Gross income from
                                                            Describe below.              each source               Describe below.            each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)


                                                          __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
                             Case 3:18-bk-03009-JAF                      Doc 16        Filed 09/21/18           Page 36 of 58

Debtor 1        Cedric Jermil Jones
               _______________________________________________________                                                    3:18-bk-03009
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    X    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               X
                    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                     _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
                                   Case 3:18-bk-03009-JAF                   Doc 16        Filed 09/21/18            Page 37 of 58

Debtor 1           Cedric Jermil Jones
                   _______________________________________________________                                                   3:18-bk-03009
                                                                                                       Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X
           No
          Yes. List all payments to an insider.
                                                                         Dates of      Total amount      Amount you still   Reason for this payment
                                                                         payment       paid              owe


            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code



            ____________________________________________                              $____________ $____________
                                                                       _________
            Insider’s Name

            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X
           No
          Yes. List all payments that benefited an insider.
                                                                        Dates of        Total amount     Amount you still   Reason for this payment
                                                                        payment         paid             owe
                                                                                                                            Include creditor’s name

            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code




            ____________________________________________                              $____________ $____________
                                                                       _________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
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Debtor 1        Cedric Jermil Jones
                _______________________________________________________                                                              3:18-bk-03009
                                                                                                               Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X
           Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case

                                                                  FORECLOSURE
                                                                                                        DUVAL COUNTY COURT
                      US BANK ASSN V JONES
            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                        
                                                                                                                                                        X
                                                                                                                                                            Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

                        2016-CA-3923
            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     X
           No. Go to line 11.
          Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property



                 _________________________________________                                                                              __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1          Cedric Jermil Jones
                  _______________________________________________________                                                      3:18-bk-03009
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X
           No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X
           No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1           Cedric Jermil Jones
                   _______________________________________________________                                                            3:18-bk-03009
                                                                                                                Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X
           No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                    Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                    contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________
           Number Street


           _____________________________________



           _____________________________________
           City           State     ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X
           No
          Yes. Fill in the details.

            Describe the property you lost and how                  Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                                lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or     Amount of payment
            Law Office of Gerald B Stewart                                                                                               transfer was made
            ___________________________________
            Person Who Was Paid

            24 N Market Street, Suite 402
            ___________________________________
            Number       Street                                                                                                          07/30/18
                                                                                                                                         _________            750.00
                                                                                                                                                             $_____________

            ___________________________________
                                                                                                                                         _________           $_____________
            Jacksonville        FL     32202
            ___________________________________
            City                        State    ZIP Code

             stewartlaw7272@gmail.com
            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



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Debtor 1           Cedric Jermil Jones
                   _______________________________________________________                                                           3:18-bk-03009
                                                                                                               Case number (if known)_____________________________________
                   First Name       Middle Name              Last Name




                                                                     Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                      transfer was made      payment

            CRICKET
            ____________________________________
            Person Who Was Paid
                                                                                                                                      07/30/18
                                                                                                                                      _________              24.00
                                                                                                                                                            $_____________
            ____________________________________
            Number       Street

                                                                                                                                      _________             $_____________
            ____________________________________

            ____________________________________
            City                         State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                     Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                      transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                      _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                      _________             $____________

            ____________________________________
            City                         State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X
           No
          Yes. Fill in the details.

                                                                     Description and value of property         Describe any property or payments received      Date transfer
                                                                     transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                                _________
            Number       Street

            ___________________________________

            ___________________________________
            City                         State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                               _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                         State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1           Cedric Jermil Jones
                   _______________________________________________________                                                            3:18-bk-03009
                                                                                                                Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X
           No
          Yes. Fill in the details.

                                                                    Description and value of the property transferred                                         Date transfer
                                                                                                                                                              was made


                                                                                                                                                              _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     X
           No
          Yes. Fill in the details.

                                                                    Last 4 digits of account number        Type of account or       Date account was       Last balance before
                                                                                                           instrument               closed, sold, moved,   closing or transfer
                                                                                                                                    or transferred
            ____________________________________
            Name of Financial Institution
                                                                        XXXX–___ ___ ___ ___               Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                            Savings
            ____________________________________                                                            Money market
            ____________________________________
                                                                                                            Brokerage
            City                        State    ZIP Code                                                   Other__________

            ____________________________________                        XXXX–___ ___ ___ ___               Checking               _________              $___________
            Name of Financial Institution
                                                                                                            Savings
            ____________________________________
            Number       Street                                                                             Money market
            ____________________________________                                                            Brokerage
            ____________________________________                                                            Other__________
            City                        State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     X
           No
          Yes. Fill in the details.
                                                                        Who else had access to it?                    Describe the contents                       Do you still
                                                                                                                                                                  have it?

                                                                                                                                                                     No
            ____________________________________
            Name of Financial Institution
                                                                   _______________________________________
                                                                   Name
                                                                                                                                                                     Yes

            ____________________________________                   _______________________________________                                                        
            Number       Street                                    Number      Street
            ____________________________________
                                                                   _______________________________________
                                                                   City          State      ZIP Code
            ____________________________________
            City                        State    ZIP Code



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Debtor 1              Cedric Jermil Jones
                      _______________________________________________________                                                                      3:18-bk-03009
                                                                                                                            Case number (if known)_____________________________________
                      First Name       Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    X
             No
            Yes. Fill in the details.
                                                                        Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                             have it?


               ___________________________________                      _______________________________________                                                                No
               Name of Storage Facility                                 Name                                                                                                   Yes
               ___________________________________                      _______________________________________                                                               
               Number       Street                                      Number    Street

               ___________________________________                      _______________________________________
                                                                        City State ZIP Code
               ___________________________________
               City                         State     ZIP Code



 Part 9:                Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        X
             No
            Yes. Fill in the details.
                                                                       Where is the property?                                    Describe the property                    Value


               ___________________________________
               Owner’s Name                                                                                                                                               $__________
                                                                      _________________________________________
               ___________________________________                    Number     Street
               Number        Street
                                                                      _________________________________________
               ___________________________________
                                                                      _________________________________________
               ___________________________________                    City                             State     ZIP Code
               City                         State     ZIP Code


 Part 10:               Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


        X
             No
            Yes. Fill in the details.
                                                                        Governmental unit                            Environmental law, if you know it                   Date of notice



              ____________________________________                     _______________________________                                                                    _________
              Name of site                                             Governmental unit

              ____________________________________                     _______________________________
              Number       Street                                      Number    Street

                                                                       _______________________________
              ____________________________________                     City                   State   ZIP Code


              ____________________________________
              City                        State      ZIP Code



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Debtor 1           Cedric Jermil Jones
                   _______________________________________________________                                                                      3:18-bk-03009
                                                                                                                         Case number (if known)_____________________________________
                   First Name       Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     X
           No
          Yes. Fill in the details.
                                                                    Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                   _______________________________
            Name of site                                           Governmental unit
                                                                                                                                                                          _________

            ____________________________________                   _______________________________
            Number        Street                                   Number     Street


            ____________________________________                   _______________________________
                                                                   City                  State    ZIP Code
            ____________________________________
            City                         State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     X
           No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                     Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title______________________________
                                                                     ________________________________
                                                                     Court Name
                                                                                                                                                                           Pending
           ______________________________________
                                                                                                                                                                           On appeal
                                                                     ________________________________
                                                                     Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                               ________________________________
                                                                     City                        State   ZIP Code
                                                                                                                                                                          

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     X
           No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                     Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                     Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                        From     _______ To _______
            ____________________________________
            City                         State    ZIP Code

                                                                     Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                     Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                        From     _______ To _______
            ____________________________________
            City                         State    ZIP Code


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Debtor 1           Cedric Jermil Jones
                   _______________________________________________________                                                            3:18-bk-03009
                                                                                                               Case number (if known)_____________________________________
                   First Name       Middle Name              Last Name




                                                                                                                             Employer Identification number
                                                                     Describe the nature of the business
                                                                                                                             Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                     Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                             From     _______ To _______
            City                         State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X
           No
          Yes. Fill in the details below.

                                                                     Date issued



            ____________________________________                     ____________
            Name                                                     MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                         State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




            /s/Cedric Jermil Jones
            ______________________________________________                         _____________________________
                                                                                        /s/Cheryle Kimberly Jones
            Signature of Debtor 1                                                      Signature of Debtor 2


                  See 1
            Date ________________                                                            21 September 2018
                                                                                       Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
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                                Attachment
         Debtor: Cedric Jermil Jones    Case No: 3:18-bk-03009
1.   21 September 2018
                                   Case 3:18-bk-03009-JAF                                         Doc 16             Filed 09/21/18          Page 47 of 58

  Fill in this information to identify your case:                                                                                              Check the appropriate box as directed in
                                                                                                                                               lines 40 or 42:

  Debtor 1          Cedric Jermil Jones
                    _________________________________________________________________                                                          According to the calculations required by
                      First Name                            Middle Name                         Last Name
                                                                                                                                               this Statement:
  Debtor 2            Cheryle Kimberly Jones
                      ________________________________________________________________
  (Spouse, if filing) First Name                            Middle Name                         Last Name                                          1. There is no presumption of abuse.
                                                DISTRICT OF FLORIDA MIDDLE
  United States Bankruptcy Court for the: ____________________________________________                                                         
                                                                                                                                               X
                                                                                                                                                    2. There is a presumption of abuse.

  Case number         3:18-bk-03009
                      ___________________________________________
   (If known)
                                                                                                                                                Check if this is an amended filing



Official Form 122A–2
Chapter 7 Means Test Calculation                                                                                                                                                        04/16

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Part 1:           Determine Your Adjusted Income



1. Copy your total current monthly income. ..................................................................Copy line 11 from Official Form 122A-1 here ...........                 6,165.72
                                                                                                                                                                                   $_________

2. Did you fill out Column B in Part 1 of Form 122A–1?

        No. Fill in $0 for the total on line 3.
    X   Yes. Is your spouse filing with you?

                No. Go to line 3.
         
         X       Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT
    regularly used for the household expenses of you or your dependents?

     No. Fill in 0 for the total on line 3.
    Yes. Fill in the information below:

                State each purpose for which the income was used                                                    Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support                         are subtracting from
                people other than you or your dependents                                                            your spouse’s income


            ___________________________________________________                                                       $______________


            ___________________________________________________                                                       $______________

            ___________________________________________________                                                     + $______________
            Total. ..............................................................................................                0.00
                                                                                                                      $______________
                                                                                                                                             Copy total here ................   ─ $_________
                                                                                                                                                                                         0.00



4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                     6,165.72
                                                                                                                                                                                  $_________




Official Form 122A–2                                                                Chapter 7 Means Test Calculation                                                                page 1
                               Case 3:18-bk-03009-JAF                                   Doc 16              Filed 09/21/18                  Page 48 of 58
Debtor 1        Cedric Jermil Jones
                _______________________________________________________                                                                              3:18-bk-03009
                                                                                                                               Case number (if known)_____________________________________
                First Name         Middle Name               Last Name



Part 2:        Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.


   National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.                                                                                                                    0.00
                                                                                                                                                                              $________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are
      under 65 and people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.    Out-of-pocket health care allowance per person
                                                                                            49.00
                                                                                    $____________


       7b.    Number of people who are under 65
                                                                                           0
                                                                                    X ______

       7c.    Subtotal. Multiply line 7a by line 7b.                                         0.00
                                                                                    $____________              Copy here                     0.00
                                                                                                                                      $___________




           People who are 65 years of age or older


       7d.    Out-of-pocket health care allowance per person
                                                                                           117.00
                                                                                    $____________

       7e.    Number of people who are 65 or older                                         0
                                                                                    X ______


       7f.    Subtotal. Multiply line 7d by line 7e.                                         0.00
                                                                                    $____________              Copy here
                                                                                                                                   + $___________
                                                                                                                                              0.00



       7g.    Total. Add lines 7c and 7f....................................................................................          $___________
                                                                                                                                              0.00        Copy total here
                                                                                                                                                                              $________
                                                                                                                                                                                    0.00




  Official Form 122A–2                                                     Chapter 7 Means Test Calculation                                                                    page 2
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Debtor 1         Cedric Jermil Jones
                 _______________________________________________________                                                                           3:18-bk-03009
                                                                                                                             Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name




   Local Standards                 You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses. .......................................................................                           0.00
                                                                                                                                                                          $____________


   9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount listed
              for your county for mortgage or rent expenses.....................................................................                 $___________
                                                                                                                                                         0.00


           9b. Total average monthly payment for all mortgages and other debts secured by your home.



              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60.

                Name of the creditor                                                                 Average monthly
                                                                                                     payment


                ___________________________________                                                  $____________

                ___________________________________                                                 $____________


                ___________________________________ +                                               $____________

                                                                                                                                 Copy                           Repeat this
                                             Total average monthly payment                                    0.00
                                                                                                     $____________
                                                                                                                                 here
                                                                                                                                               ─ $___________
                                                                                                                                                         0.00   amount on
                                                                                                                                                                line 33a.


       9c.     Net mortgage or rent expense.
               Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                                0.00 Copy
                                                                                                                                                 $___________                     0.00
                                                                                                                                                                          $___________
               rent expense). If this amount is less than $0, enter $0. ....................................................................                    here




   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                               $___________
                                                                                                                                                                                  0.00
       the calculation of your monthly expenses, fill in any additional amount you claim.

           Explain       _________________________________________________________________
           why:
                         _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        0. Go to line 14.
       1. Go to line 12.
       2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                                $___________




  Official Form 122A–2                                                      Chapter 7 Means Test Calculation                                                                  page 3
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Debtor 1       Cedric Jermil Jones
               _______________________________________________________                                                                  3:18-bk-03009
                                                                                                                 Case number (if known)_____________________________________
               First Name         Middle Name           Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


       Vehicle 1            Describe Vehicle 1:     _______________________________________________________________
                                                    _______________________________________________________________


       13a.    Ownership or leasing costs using IRS Local Standard. .................................................           $___________

       13b.    Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e, add all
               amounts that are contractually due to each secured creditor in the 60 months
               after you filed for bankruptcy. Then divide by 60.

                    Name of each creditor for Vehicle 1                         Average monthly
                                                                                payment

                 _____________________________________                             $____________

                 _____________________________________                         +   $____________

                                                                                                              Copy                                Repeat this
                                    Total average monthly payment                  $____________
                                                                                                              here
                                                                                                                             ─ $____________      amount on
                                                                                                                                                  line 33b.

                                                                                                                                                 Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                                             Vehicle 1
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0. ..............................        $____________     expense
                                                                                                                                                 here .....  $___________



       Vehicle 2            Describe Vehicle 2:     _______________________________________________________________
                                                    _______________________________________________________________


       13d.    Ownership or leasing costs using IRS Local Standard. ................................................           $____________

       13e.    Average monthly payment for all debts secured by Vehicle 2.
               Do not include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                         Average monthly
                                                                                payment


                 _____________________________________                             $____________



                 _____________________________________                         +   $____________


                                                                                                                Copy                              Repeat this
                                     Total average monthly payment                 $____________
                                                                                                                here
                                                                                                                             ─ $____________      amount on
                                                                                                                                                  line 33c.

                                                                                                                                                 Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                                             Vehicle 2
              Subtract line 13e from 13d. If this amount is less than $0, enter $0. ......................................     $____________     expense
                                                                                                                                                 here ...      $___________


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                             $___________

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                              $___________


  Official Form 122A–2                                               Chapter 7 Means Test Calculation                                                             page 4
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Debtor 1      Cedric Jermil Jones
              _______________________________________________________                                                  3:18-bk-03009
                                                                                                 Case number (if known)_____________________________________
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your                    $___________
                                                                                                                                                     0.00
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                          0.00
                                                                                                                                             $___________


   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.                    0.00
                                                                                                                                             $___________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                                     0.00
                                                                                                                                             $___________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.                        0.00
                                                                                                                                             $___________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                     0.00
                                                                                                                                             $___________


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                                    0.00
                                                                                                                                             $___________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it       + $___________
                                                                                                                                                      0.00
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                      $____________
                                                                                                                                                       0.00
       Add lines 6 through 23.




  Official Form 122A–2                                         Chapter 7 Means Test Calculation                                                  page 5
                            Case 3:18-bk-03009-JAF                  Doc 16         Filed 09/21/18              Page 52 of 58
Debtor 1        Cedric Jermil Jones
               _______________________________________________________                                               3:18-bk-03009
                                                                                              Case number (if known)_____________________________________
               First Name     Middle Name       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                                   0.00
                                                                 $____________

       Disability insurance                                               0.00
                                                                 $____________

       Health savings account                                +            0.00
                                                                 $____________

       Total                                                              0.00
                                                                 $____________                   Copy total here .....................................          0.00
                                                                                                                                                            $________

       Do you actually spend this total amount?

          No. How much do you actually spend?                   $___________
          Yes



   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of                                    0.00
                                                                                                                                                            $________
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety
       of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                             0.00
                                                                                                                                                            $________

       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
       8, then fill in the excess amount of home energy costs.
                                                                                                                                                            $________0.00
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $160.42*
       per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
       elementary or secondary school.
                                                                                                                                                            $________0.00
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
       reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are                                         $_______0.00
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than
       5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
       this form. This chart may also be available at the bankruptcy clerk’s office.
       You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                                      0.00
                                                                                                                                                          + $_______
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.                                                                                                        $_______0.00
       Add lines 25 through 31.




Official Form 122A–2                                        Chapter 7 Means Test Calculation                                                                page 6
                                     Case 3:18-bk-03009-JAF                                            Doc 16                Filed 09/21/18                    Page 53 of 58
Debtor 1            Cedric Jermil Jones
                    _______________________________________________________                                                                                           3:18-bk-03009
                                                                                                                                                Case number (if known)_____________________________________
                    First Name            Middle Name                   Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                                            Average monthly
                                                                                                                                                            payment
                    Mortgages on your home:

           33a. Copy line 9b here ....................................................................................................................      $_____________
                                                                                                                                                                       0.00

                    Loans on your first two vehicles:                                                                                
           33b. Copy line 13b here. ...............................................................................................................         $_____________

           33c. Copy line 13e here. ............................................................................................................ .          $_____________

           33d. List other secured debts:

                                                                                                                                      
                       Name of each creditor for other                              Identify property that                          Does payment
                       secured debt                                                 secures the debt                                include taxes
                                                                                                                                    or insurance?
                                                                                     Homestead 3723 Juliet
                       Ocwen Loan Servicing L
                       _______________________________                              Leia Cir South
                                                                                    ________________________
                                                                                                                                            No
                                                                                                                                                             $____________
                                                                                                                                            Yes

                       Mercedes Benz Financial
                       _______________________________                              Mercedes Benz
                                                                                    ________________________
                                                                                                                                            No
                                                                                                                                                             $____________
                                                                                                                                            Yes

                                                                                                                                            No
                       _______________________________                              ________________________                                               + $____________
                                                                                                                                            Yes

                                                                                                                                                                               Copy total
      33e. Total average monthly payment. Add lines 33a through 33d. .....................................................  $____________
                                                                                                                                      0.00
                                                                                                                                                                               here                0.00
                                                                                                                                                                                            $__________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

          X
               No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

                         Name of the creditor                         Identify property that                     Total cure                                  Monthly cure
                                                                      secures the debt                           amount                                      amount

                         _______________________                      ____________________                     $__________                ÷ 60 =             $_____________

                         _______________________                      ____________________                     $__________                ÷ 60 =             $_____________

                         _______________________                      ____________________                     $__________                ÷ 60 =           + $_____________
                                                                                                                                                                              Copy total
                                                                                                                                            Total              0.00
                                                                                                                                                             $_____________                  0.00
                                                                                                                                                                                            $__________
                                                                                                                                                                              here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

          X
               No. Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.

                        Total amount of all past-due priority claims ............................................................................
                                                                                                                                          $____________                        ÷ 60 =       $__________
                                                                                                                                                                                                    0.00

  Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                        page 7
                                    Case 3:18-bk-03009-JAF                                         Doc 16                Filed 09/21/18                        Page 54 of 58
Debtor 1           Cedric Jermil Jones
                   _______________________________________________________                                                                                       3:18-bk-03009
                                                                                                                                          Case number (if known)_____________________________________
                   First Name           Middle Name                  Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
        
        X
               No. Go to line 37.
              Yes. Fill in the following information.

                       Projected monthly plan payment if you were filing under Chapter 13                                                                   $_____________
                       Current multiplier for your district as stated on the list issued by the
                       Administrative Office of the United States Courts (for districts in Alabama and
                       North Carolina) or by the Executive Office for United States Trustees (for all
                       other districts).                                                                                                                x    ______
                       To find a list of district multipliers that includes your district, go online using the
                       link specified in the separate instructions for this form. This list may also be
                       available at the bankruptcy clerk’s office.
                                                                                                                                                                                      Copy total
                       Average monthly administrative expense if you were filing under Chapter 13                                                           $_____________                           $_________
                                                                                                                                                                                      here



   37. Add all of the deductions for debt payment.                                                                                                                                                     0.00
                                                                                                                                                                                                     $_________
       Add lines 33e through 36. ..............................................................................................................................................................


   Total Deductions from Income


   38. Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS                                                       0.00
                                                                                                      $______________
       expense allowances .....................................................................

       Copy line 32, All of the additional expense deductions ..........                                         0.00
                                                                                                      $______________


       Copy line 37, All of the deductions for debt payment .............                          + $______________
                                                                                                                0.00

                                                                     Total deductions                             0.00
                                                                                                      $______________                           Copy total here ...............................             0.00
                                                                                                                                                                                                     $_________


   Part 3:           Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

         39a.     Copy line 4, adjusted current monthly income .....                                         6,165.72
                                                                                                      $_____________

         39b.     Copy line 38, Total deductions. .........                                       −             0.00
                                                                                                      $_____________

         39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                                             Copy
                                                                                                             6,165.72
                                                                                                      $_____________                                                      6,165.72
                                                                                                                                                                    $____________
                 Subtract line 39b from line 39a.                                                                                               here

                   For the next 60 months (5 years) ...........................................................................................................     x 60

                                                                                                                                                                                             Copy
         39d. Total. Multiply line 39c by 60. ..................................................................................................................       369,943.20
                                                                                                                                                                    $____________
                                                                                                                                                                                             here     369,943.20
                                                                                                                                                                                                      $________


   40. Find out whether there is a presumption of abuse. Check the box that applies:

              The line 39d is less than $7,700*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
               to Part 5.

          X   The line 39d is more than $12,850*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
               may fill out Part 4 if you claim special circumstances. Then go to Part 5.

              The line 39d is at least $7,700*, but not more than $12,850*. Go to line 41.

               * Subject to adjustment on 4/01/19, and every 3 years after that for cases filed on or after the date of adjustment.


Official Form 122A–2                                                                Chapter 7 Means Test Calculation                                                                                 page 8
                                  Case 3:18-bk-03009-JAF                                              Doc 16                 Filed 09/21/18                           Page 55 of 58
Debtor 1        Cedric Jermil Jones
                _______________________________________________________                                                                                               3:18-bk-03009
                                                                                                                                                Case number (if known)_____________________________________
                First Name            Middle Name                     Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            (Official Form 106Sum), you may refer to line 3b on that form. ........................................................... .
                                                                                                                                                                          $___________

                                                                                                                                                                          x   .25

           41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                                                             Copy
                                                                                                                                                                                                    $__________
               Multiply line 41a by 0.25. .............................................................................................................................
                                                                                                                                                                          $___________    here




   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

            Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

            Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Part 4:         Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

   X
        No. Go to Part 5.
       Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
             for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.

                                                                                                                                                                          Average monthly expense
               Give a detailed explanation of the special circumstances
                                                                                                                                                                          or income adjustment

               _______________________________________________________________________________                                                                            $__________________

               _______________________________________________________________________________                                                                            $__________________

               _______________________________________________________________________________
                                                                                                                                                                          $__________________

               _______________________________________________________________________________                                                                            $__________________




Part 5:       Sign Below


              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                   /s/Cedric Jermil Jones
                   ___________________________________________________                                                       ___________________________________
                                                                                                                                    /s/Cheryle Kimberly Jones
                  Signature of Debtor 1                                                                                             Signature of Debtor 2


                       09/21/2018
                  Date _________________                                                                                                  09/21/2018
                                                                                                                                    Date _________________
                          MM / DD          / YYYY                                                                                           MM / DD         / YYYY



  Official Form 122A–2                                                                Chapter 7 Means Test Calculation                                                                               page 9
                                  Case 3:18-bk-03009-JAF               Doc 16           Filed 09/21/18            Page 56 of 58
 Fill in this information to identify your case:                                                       Check one box only as directed in this form and in
                                                                                                       Form 122A-1Supp:
 Debtor 1          Cedric Jermil Jones
                   __________________________________________________________________
                     First Name             Middle Name               Last Name
                                                                                                          1. There is no presumption of abuse.
 Debtor 2            Cheryle Kimberly Jones
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name                        
                                                                                                       X
                                                                                                           2. The calculation to determine if a presumption of
                                                                                                              abuse applies will be made under Chapter 7
                                                DISTRICT OF FLORIDA MIDDLE
 United States Bankruptcy Court for the: ____________________________________________
                                                                                                              Means Test Calculation (Official Form 122A–2).
 Case number         3:18-bk-03009
                     ___________________________________________                                          3. The Means Test does not apply now because of
 (If known)                                                                                                   qualified military service but it could apply later.


                                                                                                        Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      Not married. Fill out Column A, lines 2-11.
     
     X Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.


      Married and your spouse is NOT filing with you. You and your spouse are:
        Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
        Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A              Column B
                                                                                                       Debtor 1              Debtor 2 or
                                                                                                                             non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                       3,043.20
                                                                                                        $_________                   0.00
                                                                                                                              $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                              $_________
                                                                                                              0.00            $__________
                                                                                                                                      0.00

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                                  0.00
                                                                                                        $_________                   0.00
                                                                                                                              $__________

 5. Net income from operating a business, profession,
                                                                   Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                               0.00
                                                                      $______       0.00
                                                                                 $______
                                                                               _         _
     Ordinary and necessary operating expenses                    –   $______ –_ $______
                                                                         0.00       0.00
                                                                                         _
                                                                                              Copy
     Net monthly income from a business, profession, or farm             0.00
                                                                      $______            0.00 here
                                                                                      $______           $_________
                                                                                                              0.00                   0.00
                                                                                                                              $__________

 6. Net income from rental and other real property                 Debtor 1       Debtor 2
    Gross receipts (before all deductions)                              0.00
                                                                    $______            0.00
                                                                                   $______
                                                                                  _           _
     Ordinary and necessary operating expenses                    – $______
                                                                       0.00 – $______
                                                                            _
                                                                                 0.00
                                                                                      _
                                                                                              Copy
     Net monthly income from rental or other real property               0.00
                                                                      $______             0.00 here
                                                                                      $______                 0.00
                                                                                                        $_________                   0.00
                                                                                                                              $__________
 7. Interest, dividends, and royalties                                                                  $_________            $__________
                                                                                                                                     0.00



Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                       page 1
                                        Case 3:18-bk-03009-JAF                                                Doc 16    Filed 09/21/18           Page 57 of 58

Debtor 1             Cedric Jermil Jones
                     _______________________________________________________                                                                           3:18-bk-03009
                                                                                                                                 Case number (if known)_____________________________________
                     First Name              Middle Name                      Last Name



                                                                                                                                    Column A                 Column B
                                                                                                                                    Debtor 1                 Debtor 2 or
                                                                                                                                                             non-filing spouse

 8. Unemployment compensation                                                                                                         $__________
                                                                                                                                             0.00                       0.00
                                                                                                                                                                $___________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ................................ 
           For you ....................................................................................    $______________
           For your spouse ....................................................................            $______________
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                                1,867.00
                                                                                                                                      $__________                       0.00
                                                                                                                                                                $___________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.
         Military Retirement Disability
        ______________________________________                                                                                           1,255.52
                                                                                                                                      $_________                         0.00
                                                                                                                                                                $___________
        ______________________________________                                                                                        $_________                $___________
        Total amounts from separate pages, if any.                                                                                 + $_________
                                                                                                                                           0.00              + $___________
                                                                                                                                                                       0.00

 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                  6,165.72
                                                                                                                                      $_________
                                                                                                                                                         +              0.00
                                                                                                                                                                $___________
                                                                                                                                                                                    =       6,165.72
                                                                                                                                                                                        $__________
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

 Part 2:            Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.        Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          6,165.72
                                                                                                                                                                                    $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                   x 12
     12b.        The result is your annual income for this part of the form.                                                                                                 12b.      73,988.64
                                                                                                                                                                                    $__________

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.
                                                                                                          Florida

     Fill in the number of people in your household.
                                                                                                          0
     Fill in the median family income for your state and size of household. ................................................................................................. 13.          0.00
                                                                                                                                                                                    $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?

     14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3.

     14b. 
          X
            Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.

 Part 3:             Sign Below


                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                          /s/Cedric Jermil Jones
                          __________________________________________________________                                          ______________________________________
                                                                                                                                /s/Cheryle Kimberly Jones
                          Signature of Debtor 1                                                                                Signature of Debtor 2

                               09/21/2018
                         Date _________________                                                                                      09/21/2018
                                                                                                                               Date _________________
                              MM / DD / YYYY                                                                                        MM / DD / YYYY
                           If you checked line 14a, do NOT fill out or file Form 122A–2.
                           If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯


Official Form 122A-1                                                   Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
                                      Case 3:18-bk-03009-JAF                  Doc 16            Filed 09/21/18               Page 58 of 58

Fill in this information to identify your case:

Debtor 1          Cedric Jermil Jones
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            Cheryle Kimberly Jones
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


                                                  District Of Florida Middle
United States Bankruptcy Court for the: _______________________________________

Case number         3:18-bk-03009
                    ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X
         No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         /s/Cedric Jermil Jones
          ______________________________________________             
                                                                      _____________________________
                                                                            /s/Cheryle Kimberly Jones
         Signature of Debtor 1                                             Signature of Debtor 2


              09/21/2018
         Date _________________                                                 09/21/2018
                                                                           Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




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